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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 Charlotte Division

In re:                                                 CASE NO. 17-30132

TSI Holdings, LLC1 et al.,                             CHAPTER 7
                                                       Jointly Administered
                         DEBTORS.

    TRUSTEE’S AMENDED MOTION FOR APPROVAL OF INTERIM DISTRIBUTION
                  TO CREDITORS OF THE PONZI ENTITIES

         Joseph W. Grier, III, the duly appointed trustee (“Trustee”) for the above-referenced

debtors (the “Debtors”) in these jointly-administered bankruptcy cases, through counsel, hereby

brings this Trustee’s Amended Motion for Approval of Interim Distribution to Creditors of the

Ponzi Entities (this “Motion”), and in support, respectfully shows the Court as follows:

                              SUMMARY OF RELIEF REQUESTED

         1.     Diane Siskey (“D. Siskey”) has previously placed a portion of life insurance

proceeds she received from the death of Rick Siskey in an escrow account (“Escrow Account”).

The balance of the escrow account as of March 31, 2018 was $37,606,730.38 (“Escrow

Proceeds”). D. Siskey has consented to the release of $11,000,000 (“Released Funds”) from the

Escrow Account to the Ponzi Debtors to enable an interim distribution (“Interim Distribution”)

to investors with allowed claims in the Ponzi Debtors cases. The Trustee proposes to set aside

$1,000,000 of the Released Funds for administrative expenses of the Ponzi Debtors and to

distribute $10,000,000 to investors with allowed claims in the Ponzi Debtors cases, to the

investors and in the amount shown on attached Exhibits A, B, and C. An Interim Distribution of




1
         These jointly administered cases are those of the following debtors: TSI Holdings, LLC, Case No. 17-
30132, WSC Holdings, LLC Case No. 17-30338, SouthPark Partners, LLC Case No. 17-30339 and Sharon Road
Properties, LLC Case No. 17-30363.
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$10,000,000 will allow a pro-rata distribution of approximately 27.58% to holders of allowed

base claims in the Ponzi Debtors.2

                                                BACKGROUND

         2.       On January 27, 2017, an involuntary bankruptcy petition (D.E. 1) pursuant to

chapter 7 of the United States Bankruptcy Code, 11 U.S.C. §§ 101 et seq. (the “Code”), was filed

against TSI, initiating this case (this “Case”). On February 2, 2017, the Court held an emergency

hearing on the petitioning creditors’ emergency motion to appoint an interim trustee for the

Debtor in this Case (D.E. 5) (the “Trustee Motion”). On February 8, 2017, the Court entered its

Order granting the Trustee Motion (D.E. 17), appointing the Trustee. The Court subsequently

entered its Order For Relief (D.E. 32) on February 22, 2017.

         3.       Similar involuntary petitions and motions were filed against WSC, SPP and SRP,

and the Court appointed the Trustee and entered orders for relief in those cases.

         4.       The Court authorized the joint administration of these four cases by order entered

on May 23, 2017 (D.E. 63).

         5.       Evidence presented to the Court in the Trustee Motion, including an affidavit of

Timothy Darin Stutheit, a Special Agent with the Federal Bureau of Investigation, showed that

Rick Siskey (“R. Siskey”), prior to his death on December 28, 2016, operated TSI as a Ponzi

scheme (the “Ponzi Scheme”) (D.E. 5).

         6.       Based on the Debtors’ records, and other evidence, the Trustee and his

professionals are of the opinion that TSI, WSC, and SPP (the “Ponzi Entities” or “Ponzi

Debtors”) were each operated as part of the Ponzi Scheme.




2
         This percentage distribution is premised upon the Stone Street claims not receiving any distribution as part
of the interim distribution. Prior to filing this Motion, Stone Street has indicated to the Trustee that it consents to
such an outcome.
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        7.       Alternatively, this Court has held that SRP is not part of a Ponzi Scheme and that

distribution to SRP claimants shall be from the assets of SRP and the assets of SRP shall satisfy

the SRP administrative expenses (see Claim’s Order at D.E. 177).

        8.       R. Siskey’s decedent’s estate (the “Estate”) is being administered in Mecklenburg

County, North Carolina by F. Lane Williamson (“Williamson”), in case number 17-E-243. The

Trustee and Williamson are coordinating their case administrations.                       Williamson has also

succeeded R. Siskey as Manager of Siskey Industries, LLC (“Siskey Industries”), an entity

owned 98% by Rick Siskey.

        9.       D. Siskey has agreed to release $11,000,000 to the Ponzi Debtors’ bankruptcy

estates.3 After reserving $1,000,000 to satisfy administrative expenses in the Ponzi Debtors’

cases the Trustee will have $10,000,000 available for the Interim Distribution. All claims have

been reviewed, and the Trustee has obtained orders on objections to claims, settlements

regarding claims, and the amounts of allowed claims but for the claims of Stone Street Partners,

LLC, f/k/a Siskey Capital, LLC (TSI Claim No. 87), Paul G. Porter (TSI Claim No. 89), or Dawn

E. King (TSI Claim No. 88) (the “Stone Street Claimants”) and the claim of the SEC.

        10.      The Stone Street Claimants have consented to the Interim Distribution of holders

of allowed claims without requiring the Trustee establish any sort of reserve for their claims.

The SEC does not oppose the Interim Distribution.

        11.      The relief requested in this Motion is fully supported by the Bankruptcy Code.

Distributions are made in chapter 7 cases as provided in Section 726. The Interim Distribution

proposed through this Motion is consistent with a distribution of estate assets that would occur in

any chapter 7 case.

3
         The settlement proceeds will be initially be deposited into the Trustee’s TSI bank account, as property of
the estate, subject to the understanding that the four Debtor cases have been administratively but not substantively
consolidated; the allocation of the settlement proceeds among the Ponzi Debtor cases corresponds with Allowed
Claims in each case.
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          12.    For these reasons, the Trustee requests that the Court approve the Interim

Distribution proposed herein.

                                                NOTICE

          13.    Notice shall be sent pursuant to the Order Limiting Service of Process (D.E. 66)

as follows: (a) upon the Bankruptcy Administrator and those parties requesting notice via ECF

pursuant to Bankruptcy Rule 2002 via ECF; (b) on any party in interest where the Trustee has a

valid electronic mail address by electronic mail only; (c) by posting all pleadings on the Siskey-

Related Bankruptcy Case Webpage; and (d) upon D. Siskey, through counsel.

          WHEREFORE, the Trustee prays that the Court will enter an Order authorizing the

Interim Distribution as set out in this Motion, and granting such further relief as is just and

proper.

          This is the 27th day of June, 2018.

                                                  /s/ Michael L. Martinez
                                                Joseph W. Grier, III (State Bar No. 7764)
                                                Anna S. Gorman (State Bar No. 20987)
                                                Michael L. Martinez (State Bar No. 39885)
                                                Grier Furr & Crisp, PA
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                                                Attorneys for Joseph W. Grier, III, Ch. 7 Trustee
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Claim #   Claimant                                                                                          Allowed      Total Proposed      %
    1     JOHN K KELLY                                                                                    $305,227.00      $84,195.67     27.58%
    2     PAUL M. And PENNI LEITE                                                                            $0.00            $0.00        0.00%
    3     Argo Partners, Assignee of Teresa Hawkins and Michael Burkhard                                  $100,000.00      $27,584.61     27.58%
    4     LONE ROCK, LP (JAMES L. OVERTURF)                                                                  $0.00            $0.00        0.00%
    5     JOSEPH P. PRICE                                                                                    $0.00            $0.00        0.00%
    6     ARCHIE J PARKER                                                                                 $125,000.00      $34,480.76     27.58%
   7‐3    ARGO PARTNERS, ASSIGNEE OF MICHAEL R. LICATA                                                    $200,000.00      $55,169.22     27.58%
    8     BARBARA A. PETREY                                                                                $25,000.00       $6,896.16     27.58%
    9     TONY F. CHANEY, SR.                                                                             $225,787.30      $62,282.54     27.58%
   10     CLINT PLEASANTS                                                                                    $0.00            $0.00        0.00%
   11     CYNTHIA ELLEN CARR                                                                               $50,000.00      $13,792.30     27.58%
   12     GERALD  D MEAD                                                                                  $331,122.04      $91,338.70     27.58%
   13     JAMES M POTEAT  MELANIE F POTEAT                                                                   $0.00            $0.00        0.00%
   14     MAINSTAR TRUST FBO BRUCE R. SMITH                                                               $390,000.00     $107,579.95     27.58%
   15     MAINSTAR TRUST FBO ROBERT W. SMITH, JR.                                                         $150,000.00      $41,376.90     27.58%
   16     MAINSTAR TRUST FBO MELVIN MCCULLOUGH                                                            $148,000.00      $40,825.21     27.58%
   17     GEORGE N. LOVELACE                                                                              $125,000.00      $34,480.75     27.58%
   18     MAINSTAR TRUST FBO GEORGE N. LOVELACE                                                           $144,454.00      $39,847.06     27.58%
   19     MAINSTAR TRUST FBO MARY JEWETT EFIRD                                                             $99,000.00      $27,308.76     27.58%
   20     JOHN AND SUE JOHNSEN                                                                             $50,000.00      $13,792.30     27.58%
   21     JEFFREY DENNIS HOWARD                                                                              $0.00            $0.00        0.00%
   22     SAGITA NORRIS                                                                                   $341,000.00      $94,063.50     27.58%
   23     MAVIS H. ANDERSON                                                                                $85,000.00      $23,446.91     27.58%
   24     JAMES H PARKS AND BRENDA R PARKS                                                                $401,800.00     $110,834.93     27.58%
   25     MAINSTAR TRUST FBO JANICE D. BEDDARD                                                            $175,000.00      $48,273.06     27.58%
   26     MAINSTAR TRUST FBO WILLIAM C. VANNESS, III                                                       $50,000.00      $13,792.30     27.58%
   27     MAINSTAR TRUST FBO NICOLE VANNESS                                                                $50,000.00      $13,792.30     27.58%
   28     DIANE G. DAVIS                                                                                  $180,000.00      $49,652.29     27.58%
   29     J. MICHAEL AND KRISTEN COWLING                                                                  $450,000.00     $124,130.71     27.58%
   30     ESTATE OF BETTY M. MAYNARD                                                                       $84,834.00      $23,401.12     27.58%
   31     MAINSTAR TRUST FBO SUSAN D LIGON                                                                 $94,000.00      $25,929.53     27.58%
   32     MICHAEL DENNIS LIGON                                                                           $1,100,000.00    $303,430.63     27.58%
   33     PATRICIA HARDIN CHESTER                                                                          $50,000.00      $13,792.30     27.58%
  33‐2    MAINSTAR TRUST FBO PATRICIA HARDIN CHESTER                                                      $191,152.78      $52,728.74     27.58%
   34     MAINSTAR TRUST FBO TED F. NORWOOD                                                               $268,033.04      $73,935.85     27.58%
   35     INTERNAL REVENUE SERVICE                                                                           $0.00            $0.00       0.00%
   36     ENRIQUE PAREDES TABLAS                                                                           $85,000.00      $23,446.91     27.58%
   37     ELIZABETH A. MONCRIEF                                                                           $638,000.00     $175,989.77     27.58%
   38     DHIREN M. AND SHERRY BALLARD RATHOD                                                              $50,000.00      $13,792.30     27.58%
   39     MICHAEL GREGG MARSHALL                                                                          $195,000.00      $53,789.98     27.58%
   40     SCOTT HICKS                                                                                        $0.00            $0.00       0.00%
   41     MAINSTAR TRUST FBO SCOTT HICKS                                                                  $218,000.00      $60,134.43     27.58%
   42     MAINSTAR TRUST FBO LUCINDA  H. HICKS                                                            $290,000.00      $79,995.35     27.58%
   43     WILLIAM DANCER                                                                                     $0.00            $0.00        0.00%
   44     MAINSTAR TRUST FBO WILLIAM DANCER                                                               $218,000.00      $60,134.43     27.58%
   45     DAVID J. MAHONEY                                                                                   $0.00            $0.00        0.00%
   46     MAINSTAR TRUST FBO DAVID J. MAHONEY                                                              $41,000.00      $11,309.69     27.58%
   47     ROBERT B. AND APRIL M. FRAZER                                                                   $410,000.00     $113,096.87     27.58%
   48     MAINSTAR TRUST FBO SUSAN E FALIN                                                                 $50,000.00      $13,792.30     27.58%
   49     JUDSON MICHAEL PELT                                                                             $125,000.00      $34,480.75     27.58%
   50     MAINSTAR TRUST FBO ERIC WARD                                                                    $270,000.00      $74,478.43     27.58%
   51     MAINSTAR TRUST FBO STEVEN M BROWN                                                               $200,000.00      $55,169.21     27.58%
   52     MAINSTAR TRUST FBO JAMES S HUNT                                                                 $230,000.00      $63,444.59     27.58%
   53     MAINSTAR TRUST FBO LYNANN NEHLS                                                                 $230,000.00      $63,444.59     27.58%
   54     ROZSAK CAPITAL, LLP                                                                                $0.00            $0.00        0.00%
   55     MELTON BROWN                                                                                       $0.00            $0.00        0.00%
   56     MAINSTAR TRUST FBO MICHAEL C. D'AGATA                                                            $70,000.00      $19,309.22     27.58%
   57     CHERYL D. ECKLEY                                                                                $700,000.00     $193,092.22     27.58%
  57‐2    MAINSTAR TRUST FBO CHERYL D. ECKLEY                                                            $1,000,000.00    $275,846.03     27.58%
   58     MAINSTAR TRUST FBO JEANNE B. TURNER                                                              $37,000.00      $10,206.30     27.58%
   59     MAINSTAR TRUST FBO PAUL A. TURNER                                                               $272,000.00      $75,030.12     27.58%
   60     ADAM GOULET                                                                                      $29,884.95       $8,243.64     27.58%
   61     MICHAEL SALAMONE                                                                                $883,000.00     $243,572.04     27.58%
   62     EHE INVESTMENTS, LLC                                                                            $200,000.00      $55,169.21     27.58%
   63     WESLEY CAMPBELL                                                                                 $100,000.00      $27,584.60     27.58%
   64     CAMPBELL OIL COMPANY                                                                            $100,000.00      $27,584.60     27.58%
   65     BRIAN DIXON CAMPBELL                                                                             $50,000.00      $13,792.30     27.58%
   66     ROBERT CRAIG CASS                                                                               $295,000.00      $81,374.58     27.58%
   67     MAINSTAR TRUST FBO JOHN BOCCIA                                                                  $115,000.00      $31,722.29     27.58%
   68     CHARLOTTE DREIBELBIS                                                                            $150,000.00      $41,376.90     27.58%
   69     ESTATE OF CAROL T. CORREGGIAC/O JENNIFER BECKNELL                                               $100,000.00      $27,584.60     27.58%
   70     MAINSTAR TRUST FBO ANTHONY WILLIAM PACKER                                                       $413,715.00     $114,121.64     27.58%
   71     MAINSTAR TRUST FBO DON W. GARRETT                                                               $351,000.00      $96,821.96     27.58%
   72     BRIAN WILDER                                                                                    $509,000.00     $140,405.63     27.58%
   73     U.S. SECURITIES AND EXCHANGE COMMISSION ATLANTA REGIONAL OFFICE                                    $0.00            $0.00        0.00%
   74     MAINSTAR TRUST FBO THOMAS J. CUSACK                                                              $70,331.85      $19,400.76     27.58%
   75     MAINSTAR TRUST FBO DONALD B. OLIN (ROTH IRA)                                                    $233,950.00      $64,534.18     27.58%
   76     DENNIS & ROBIN SCALA                                                                            $490,000.00     $135,164.55     27.58%




                                                                  EXHIBIT A
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77   MAINSTAR TRUST FBO THOMAS J. CROZIER, III (TRADITIONAL IRA)EDWARD T. HINSON, JR. JAMES, MCELROY & DIEHL, PA     $83,000.00      $22,895.22     27.58%
78   MAINSTAR TRUST FBO KENT M. KALINA                                                                               $45,000.00      $12,413.07     27.58%
79   IVY ROBINSON(IVY ROBINSON DUNSTAN REVOCABLE TRUST)IVY ROBINSON                                                 $100,000.00      $27,584.60     27.58%
80   MAINSTAR TRUST FBO RICHARD E. GERMAN                                                                            $15,315.97       $4,224.85     27.58%
81   MAINSTAR TRUST FBO SARAH P. GERMAN                                                                             $109,700.00      $30,260.31     27.58%
82   JEFFREY D. ODEN                                                                                                  $5,000.00       $1,379.23     27.58%
83   JERRY ROBERT KING                                                                                              $600,000.00     $165,507.62     27.58%
84   MAINSTAR TRUST FBO ROSE B. CUMMINGS (TRADITIONAL IRA)EDWARD T. HINSON, JR. JAMES, MCELROY & DIEHL, PA          $140,000.00      $38,618.44     27.58%
85   DONALD G COREY                                                                                                     $0.00           $0.00        0.00%
86   MAINSTAR TRUST FBO WILLIAM D. CUMMINGS (TRADITIONAL IRA)EDWARD T. HINSON, JR. JAMES, MCELROY & DIEHL, PA       $165,000.00      $45,514.59     27.58%
87   STONE STREET PARTNERS, LLC FKA SISKEY CAPITAL, LLCJAMES C. SMITH NEXSEN PRUET, PLLC                                $0.00           $0.00       0.00%
88   DAWN E. KINGJAMES C. SMITH NEXSEN PRUET, PLLC                                                                      $0.00           $0.00        0.00%
89   PAUL G. PORTERJAMES C. SMITH NEXSEN PRUET, PLLC                                                                    $0.00           $0.00       0.00%
90   PETER EWERT                                                                                                        $0.00           $0.00       0.00%
91   MAINSTAR TRUST FBO TONY F. CHANEY, SR.                                                                         $140,000.00      $38,618.44     27.58%
92   SCOTT DUNSTAN                                                                                                      $0.00           $0.00       0.00%
93   RICHARD E. BYRD, III AND DEBORAH BYRD                                                                              $0.00           $0.00       0.00%
94   ERIC MCDONALD                                                                                                      $0.00           $0.00       0.00%
95   LAUREN PISCATELLI                                                                                              $699,485.00     $192,950.16     27.58%
96   LAUREN PISCATELLI                                                                                                  $0.00           $0.00       0.00%
97   HARVEY G ALLISON                                                                                                   $0.00           $0.00       0.00%
98   CRAIG S BREWER                                                                                                     $0.00           $0.00       0.00%

     TOTALS                                                                                                        $17,511,792.93   $4,830,558.56   27.58%




                                                                EXHIBIT A
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Claim #   Claimant                                                                                            Allowed     Total Proposed      %
    1     GARY AND KAREN FRAZIER                                                                            $445,000.00    $122,751.48     27.58%
    2     PAUL AND PENNI LEITE                                                                              $100,000.00     $27,584.60     27.58%
    3     TOBITHA DEESE                                                                                      $27,500.00      $7,585.77     27.58%
    4     JOSEPH P. PRICE                                                                                    $28,880.00      $7,966.43     27.58%
   5P     INTERNAL REVENUE SERVICE                                                                             $0.00           $0.00        0.00%
   5U     INTERNAL REVENUE SERVICE                                                                             $0.00           $0.00        0.00%
    6     EVELYN LAYNETTE ROBINSONC/O JAMES W. SURANE                                                       $380,012.69    $104,824.99     27.58%
    7     ARGO PARTNERS, Assignee of Richard and Michelle Platt                                             $990,000.00    $273,087.57     27.58%
    8     MAINSTAR TRUST FBO JOHN D PHILLIPS JR                                                             $150,000.00     $41,376.90     27.58%
    9     KATHERINE S. ALDRIDGE                                                                             $100,000.00     $27,584.60     27.58%
   10     KATHERINE S. ALDRIDGE                                                                                $0.00           $0.00        0.00%
   11     GEORGE HOLMES                                                                                      $50,000.00     $13,792.30     27.58%
   12     MAINSTAR TRUST FBO DANA LEMONS                                                                    $100,000.00     $27,584.60     27.58%
   13     MAINSTAR TRUST FBO HERBERT LEE LEMONS                                                             $100,000.00     $27,584.60     27.58%
   14     KATHY V. BEAM                                                                                      $70,000.00     $19,309.22     27.58%
   15     GENE AND TONYA LIGON                                                                              $100,000.00     $27,584.60     27.58%
   16     GREGORIE SCOTT RIVERS                                                                             $200,000.00     $55,169.21     27.58%
   17     TERENCE S. & CATHY S. ROCHEC/O JONATHAN E. BUCHAN ESSEX RICHARDS, P.A.                            $270,000.00     $74,478.43     27.58%
   18     ROBERT B. AND APRIL M. FRAZER                                                                     $436,712.00    $120,465.27     27.58%
   19     MICHAEL W BURKHARD                                                                                 $78,747.50     $21,722.19     27.58%
   20     MAINSTAR TRUST FBO NORMAN D. BAUCOM                                                                $40,000.00     $11,033.84     27.58%
   21     SHANNON JOHNSEN BAUCOM                                                                             $40,000.00     $11,033.84     27.58%
   22     TERESA L HAWKINS AND MICHAEL W BURKHARD                                                           $273,088.50     $75,330.38     27.58%
   23     TERESA L HAWKINS AND MICHAEL W BURKHARD                                                           $267,618.22     $73,821.42     27.58%
   24     RANDY REITTINGER                                                                                  $100,000.00     $27,584.60     27.58%
   25     LYLE AND JEANNETTE RANSON                                                                            $0.00           $0.00        0.00%
   26     MAINSTAR TRUST FBO LYLE RANSON                                                                     $36,966.67     $10,197.11     27.58%
  26U     LYLE RANSON                                                                                          $0.00           $0.00        0.00%
   27     MAINSTAR TRUST FBO JEANETTE RANSON                                                                 $45,966.67     $12,679.72     27.58%
  27U     JEANETTE RANSON                                                                                      $0.00           $0.00        0.00%
   28     CARL PATTERSON                                                                                    $100,000.00     $27,584.60     27.58%
   29     ROBERT J NASTASE                                                                                     $0.00           $0.00        0.00%
   30     JAMES MICHAEL ALDRIDGE, SR.                                                                          $0.00           $0.00        0.00%
   31     MAINSTAR TRUST FBO WANDA EDWARDS MILLER                                                           $132,000.00     $36,411.68     27.58%
   32     WANDA EDWARDS MILLER                                                                               $49,000.00     $13,516.46     27.58%
   33     MAINSTAR TRUST FBO CRAIG STEPHENS MILLER                                                           $35,000.00      $9,654.61     27.58%
   34     ARGO PARTNERS, Assignee of Hamilton Nash Grier                                                    $100,000.00     $27,584.60     27.58%
   35     PETER SCHWARZ AND JENNIFER SCHWARZC/O JONATHAN E. BUCHAN ESSEX RICHARDS, P.A.                     $200,000.00     $55,169.21     27.58%
   36     MELTON BROWN                                                                                      $150,000.00     $41,376.90     27.58%
   37     MAINSTAR TRUST FBO CHERYL ECKLEY                                                                  $700,000.00    $193,092.22     27.58%
  37‐2    CHERYL ECKLEY                                                                                     $394,529.75    $108,829.47     27.58%
   38     DAISY COUCH                                                                                        $20,000.00      $5,516.92     27.58%
   39     ESTATE OF VIJAY DOSHI                                                                             $378,536.29    $104,417.73     27.58%
   40     CHRISTA T BOGGS                                                                                    $51,500.00     $14,206.07     27.58%
   41     CARLTON TYSON                                                                                     $300,000.00     $82,753.81     27.58%
   42     CARL E. AND DOROTHY MERRELL                                                                       $125,000.00     $34,480.75     27.58%
   43     MAINSTAR TRUST FBO CARL E. MERRELL                                                                 $80,500.00     $22,205.61     27.58%
   44     MAINSTAR TRUST FBO DEBORAH S. MONNETT                                                             $180,000.00     $49,652.29     27.58%
  44‐2    DEBORAH S. MONNETT                                                                                $220,000.00     $60,686.13     27.58%
   45     MAINSTAR TRUST FBO KATHRYN FURR                                                                    $37,600.00     $10,371.81     27.58%
   46     MAINSTAR TRUST FBO BOBBY FURR                                                                      $67,750.00     $18,688.57     27.58%
   47     MAINSTAR TRUST FBO JEANNE B. TURNER                                                               $144,939.44     $39,980.97     27.58%
   48     LORRAINE MACHEN                                                                                    $63,000.00     $17,378.30     27.58%
   49     LAURA C. SMITH TRUST C/O BARBARA KOVALEV                                                           $66,000.00     $18,205.84     27.58%
   50     ROBERT CRAIG CASS                                                                                    $0.00           $0.00        0.00%
   51     KEITH M. STROUD, JR.                                                                              $484,126.66    $133,544.42     27.58%
  51‐2    MAINSTAR TRUST FBO KEITH M. STROUD, JR.                                                           $403,723.53    $111,365.53     27.58%
   52     U.S. SECURITIES AND EXCHANGE COMMISSION                                                              $0.00           $0.00        0.00%
   53     BRIAN WILDER                                                                                         $0.00           $0.00        0.00%
   54     MAINSTAR TRUST FBO THOMAS J. CROZIER, III (TRADITIONAL IRA)                                       $160,377.74     $44,239.56     27.58%
   55     MATTHEW C. MCFEE                                                                                   $53,125.00     $14,654.32     27.58%
   56     BALLANTYNE CLUBDOMINIUM, LLCATTN: RICH LAVECCHIA                                                     $0.00           $0.00        0.00%
   57     RRL PARTNERS, LLCATTN: RICH LAVECCHIA                                                                $0.00           $0.00        0.00%
   58     CAROLYN B. CROZIER AND THOMAS J. CROZIER                                                          $300,000.00     $82,753.81     27.58%
   59     MAINSTAR TRUST FBO CAROLYN B. CROZIER (TRADITIONAL IRA)                                            $93,500.00     $25,791.60     27.58%
   60     KENT M. KALINA                                                                                     $24,772.50      $6,833.40     27.58%
   61     IVY ROBINSON                                                                                      $200,000.00     $55,169.21     27.58%
   62     MAINSTAR TRUST FBO ANN H. MILTICH                                                                 $100,000.00     $27,584.60     27.58%
   63     JERRY ROBERT KINGEDWARD T. HINSON, JR. JAMES, MCELROY & DIEHL, PA                                 $580,000.00    $159,990.70     27.58%
   64     SCOTT JERNIGAN                                                                                       $0.00           $0.00        0.00%
   65     STONE STREET PARTNERS, LLC FKA SISKEY CAPITAL, LLCJAMES C. SMITH NEXSEN PRUET, PLLC                  $0.00           $0.00        0.00%
   66     DAWN E. KING                                                                                         $0.00           $0.00        0.00%
   67     PAUL G. PORTERJAMES C. SMITH NEXSEN PRUET, PLLC                                                      $0.00           $0.00        0.00%
   68     MAINSTAR TRUST FBO WILLIAM F. BASS                                                                 $50,000.00     $13,792.30     27.58%
   69     LAUREN PISCATELLI                                                                                 $260,000.00     $71,719.97     27.58%
   70     MAINSTAR TRUST FBO ROBERT J BOWERS                                                                 $65,631.85     $18,104.29     27.58%
   71     DON W. GARRETT                                                                                     $13,000.00      $3,586.00     27.58%




                                                                      EXHIBIT B
        Case 17-30132                     Doc 281   Filed 06/27/18             Entered 06/27/18 15:58:48
                                                           Proposed Interim Distribution                        Desc Main
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                                                            WSC Holdings, LLC 17‐30338


72   LAUREN PISCATELLI                                                                             $0.00            $0.00       0.00%
73   HARVEY G ALLISON                                                                              $0.00            $0.00       0.00%
74   SCOTT DUNSTAN                                                                              $100,000.00      $27,584.60     27.58%
75   JAMES AND MELANIE POTEAT                                                                   $600,000.00     $165,507.62     27.58%
76   ARGO PARTNERS, Assignee of Clint Plesants                                                   $20,000.00       $5,516.92     27.58%

     TOTALS                                                                                    $11,534,105.01   $3,181,637.07   27.58%




                                                       EXHIBIT B
             Case 17-30132                   Doc 281            Filed 06/27/18              Entered 06/27/18 15:58:48
                                                                        Proposed Interim Distribution                        Desc Main
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                                                                      SouthPark Partners, LLC 17‐30339


Claim #   Claimant                                                                                              Allowed      Total Proposed      %
    1     JOSEPH P. PRICE                                                                                        $0.00            $0.00        0.00%
    2     EVELYN LAYNETTE ROBINSON C/O JAMES W. SURANE                                                           $0.00            $0.00        0.00%
   3‐2    JAMES D. JAVARAS                                                                                       $0.00            $0.00        0.00%
   4‐2    NANCY JAVARAS                                                                                          $0.00            $0.00        0.00%
    5     THEODORE HAWLEY III                                                                                    $0.00            $0.00        0.00%
    6     CYNTHIA K. HAWLEY                                                                                      $0.00            $0.00        0.00%
    7     QUALITY AUTO MACHINE, INC.                                                                           $95,000.00      $26,205.37     27.58%
    8     MELVIN MCCULLOUGH                                                                                      $0.00            $0.00        0.00%
    9     QUALITY AUTO MACHINE, INC.                                                                             $0.00            $0.00        0.00%
   10     INTERNAL REVENUE SERVICE                                                                               $0.00            $0.00        0.00%
   11     ROBERT B. AND APRIL M. FRAZER                                                                       $375,000.00     $103,442.26     27.58%
   12     MAINSTAR TRUST FBO TERESA L HAWKINS                                                                 $256,500.00      $70,754.51     27.58%
   13     TERESA L HAWKINS AND MICHAEL W BURKHARD                                                             $158,600.00      $43,749.18     27.58%
   14     MAINSTAR TRUST FBO ANGELA R. THOMAS                                                                 $286,089.15      $78,916.56     27.58%
  15‐2    MAINSTAR TRUST FBO PHILLIP R. THOMAS                                                                 $16,861.25       $4,651.11     27.58%
   16P    MAINSTAR TRUST FBO LYLE RANSON                                                                       $11,250.00       $3,103.27     27.58%
  16U     LYLE RANSON                                                                                            $0.00            $0.00        0.00%
   17P    MAINSTAR TRUST FBO JEANETTE RANSON                                                                   $11,250.00       $3,103.27     27.58%
  17U     JEANETTE RANSON                                                                                        $0.00            $0.00        0.00%
   18     MAINSTAR TRUST FBO ROBERT J NASTASE                                                                  $95,300.00     $26,288.13      27.58%
   19     WALTER D. ALDRIDGE                                                                                     $0.00            $0.00        0.00%
   20     PETER SCHWARZ AND JENNIFER SCHWARZ C/O JONATHAN E. BUCHAN ESSEX RICHARDS, P.A.                      $120,000.00      $33,101.52     27.58%
   21     CHERYL D. ECKLEY                                                                                     $73,000.00      $20,136.76     27.58%
   22     NALINI DOSHI                                                                                           $0.00            $0.00        0.00%
   23     DAISY COUCH                                                                                            $0.00            $0.00        0.00%
   24     BRIAN WILDER                                                                                       $2,584,593.91    $712,949.97     27.58%
   25     U.S. SECURITIES AND EXCHANGE COMMISSION                                                                $0.00            $0.00        0.00%
   26     JAMES E. COLLIE                                                                                        $0.00            $0.00        0.00%
   27     MAINSTAR TRUST FBO ANN H. MILTICH                                                                    $50,000.00      $13,792.30     27.58%
   28     MAINSTAR TRUST FBO JERRY ROBERT KING                                                                $448,000.00     $123,579.02     27.58%
   29     MAINSTAR TRUST FBO TERRY F. KING                                                                    $182,000.00      $50,203.98     27.58%
   30     ERIC A. ROGERS                                                                                         $0.00            $0.00        0.00%
   31     TAMMIE A. STAHL                                                                                        $0.00            $0.00        0.00%
   32     FRANK J. LEON                                                                                          $0.00            $0.00        0.00%
   33     SCOTT JERNIGAN                                                                                     $2,442,765.50    $673,827.16     27.58%
   34     DAWN E. KING C/O JAMES C. SMITH NEXSEN PRUET, PLLC                                                     $0.00            $0.00        0.00%
   35     PAUL G. PORTER JAMES C. SMITH NEXSEN PRUET, PLLC                                                       $0.00            $0.00        0.00%
   36     STONE STREET PARTNERS, LLC FKA SISKEY CAPITAL, LLC JAMES C. SMITH NEXSEN PRUET, PLLC                   $0.00            $0.00        0.00%
   37     RANDY HERRIN                                                                                           $0.00            $0.00        0.00%
   38     RALPH N. COCHRANE C/O TURNER LAW FIRM, PLLC                                                            $0.00            $0.00        0.00%
   39     HARVEY G ALLISON                                                                                       $0.00            $0.00        0.00%

          TOTALS                                                                                             $7,206,209.81   $1,987,804.37    27.58%




                                                                      EXHIBIT C
